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SECOND DISTRICT OF TEXAS

FORT WORTH

NO. 2-07-292-CV



IN RE WALTER STILLWELL	RELATOR



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ORIGINAL PROCEEDING

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MEMORANDUM OPINION
(footnote: 1)
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The court has considered relator’s petition for writ of mandamus and is of the opinion that relief should be denied. &nbsp;Accordingly, relator’s petition for writ of mandamus is denied.



PER CURIAM





PANEL A: &nbsp;CAYCE, C.J.; DAUPHINOT and WALKER, JJ. 



DELIVERED: &nbsp;August 29, 2007

FOOTNOTES
1:See
 
Tex. R. App. P. 47.4.




